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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 SEVEN Z ENTERPRISES, INC., et al.,         )    Case No. 2:17-cv-00740-CCC
                                            )
        Plaintiffs,
                                            )
                                            )
 v.
                                            )
                                            )
 GIANT EAGLE, INC.,
                                            )
        Defendant/Counterclaim-Plaintiff,   )
                                            )
 v.                                         )
                                            )
 MON VALLEY FOODS, INC., et al.,            )
        Counterclaim-Defendants.            )
                                            )
                                            )
 CELTIC EAGLE, INC.,
                                            )    REDACTED
        Plaintiff,                          )
                                            )
 v.                                         )
                                            )
 GIANT EAGLE, INC.,                         )
        Defendant.                          )



   CONSOLIDATED BRIEF IN SUPPORT OF MOTION TO EXCLUDE EXPERT
 TESTIMONY AND REPORTS OF PLAINTIFFS’ EXPERT WITNESSES (DAUBERT)



Dated: April 20, 2020                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

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day of April, 2020 upon the following:



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